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                       EXHIBIT A
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 1                          UNITED STATES DISTRICT COURT
 2                        CENTRAL DISTRICT OF CALIFORNIA
 3                                   WESTERN DIVISION
 4 DAWAUN LUCAS, et al., individually           Case No. 2:20-cv-06059-VAP-E
   and on behalf of all others similarly
 5                                              DECLARATION OF JUSTIN SKINNER
   situated,                                    IN SUPPORT OF MOTION TO DISMISS
 6                                              PLAINTIFF HOOPER’S AND TASIN’S
                            Plaintiff,          CLAIMS UNDER RULE 12(B)(3) AND
 7                                              MOTION TO TRANSFER ENTIRE
          v.                                    ACTION UNDER SECTIONS 1406(A)
 8                                              AND 1404(A)
     SMILEDIRECTCLUB, INC. and
 9   SMILEDIRECTCLUB, LLC,                      Judge: Honorable Virginia A. Phillips
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                            Defendants.
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                                                          DECLARATION OF JUSTIN SKINNER
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 1         I, Justin Skinner, declare, under penalty of perjury, that I am of legal age and sound
 2   mind and, based upon personal knowledge, due investigation and review of records kept in
 3   the ordinary course of business, that the following facts are true and correct.
 4         1.     I am the Chief Technology Officer at SmileDirectClub, LLC (“SDC, LLC”).
 5   I have held this position since December 2018.
 6         2.     I have reviewed and am familiar with the Complaint in the action entitled
 7   Lucas, et al. v. SmileDirectClub, Inc., et al., No. 2:20-cv-06059 (the “Complaint”).
 8         3.     In my position as CTO, I have personal knowledge of the SmileDirectClub
 9   account creation process and have reviewed the data kept in the ordinary course of business
10   reflecting the account creation and history of the plaintiffs identified in the Complaint,
11   including David Dominguez Hooper and Mete Tasin. I also have personal knowledge of
12   the text message platform at issue in the Complaint, which was developed by Twilio, Inc.
13         4.     On June 19, 2018, Plaintiff Hooper created a SmileDirectClub account online
14   and scheduled an appointment at a retail location known as a SmileShop. In creating his
15   account, Plaintiff Hooper provided a contact address in Berkeley, California.                The
16   SmileShop he visited was in Oakland, California.
17         5.     On December 7, 2019, Plaintiff Tasin created a SmileDirectClub account
18   online and scheduled an appointment at a SmileShop. In creating his account, Plaintiff
19   Tasin provided a contact address in Redwood City, California. The SmileShop he visited
20   was in Redwood City, California.
21         6.     Plaintiffs Hooper and Tasin visited SmileShops in Northern California, where
22   each provided information about their dental histories and chief complaints and learned
23   about the teledentistry platform that SDC, LLC enables for the provision of clear aligner
24   therapy by state licensed dentists and orthodontists to their patients. Their information and
25   draft treatment plans were sent to a dentist or orthodontist licensed in their state of residence
26   for assessment, diagnosis and, if appropriate, treatment. Their aligner treatment plans were
27   thereafter approved by their respective treating dentist or orthodontist.
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                                                                  DECLARATION OF JUSTIN SKINNER
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